Commercial - Search
                          Case 2:12-cv-01641-KDE-SS Document 85-3 Filed 05/06/13 Page 1 of 2
                      Tom Schedler                                 State of Louisiana                               COMMERCIAL DIVISION
                                                                   Secretary of State                                   225.925.4704
                 Secretary of State

                                                                                                                         Fax Numbers
                                                                                                                 225.932.5317 (Admin. Services)
                                                                                                                  225.932.5314 (Corporations)
                                                                                                                      225.932.5318 (UCC)



   Name                                                                Type                                                    City            Status
   CHRISTIAN CONGREGATION OF JEHOVAH'S WITNESSES                       Non-Profit Corporation or Co-op (Non-Louisiana)         PATTERSON       Active

   Business:                      CHRISTIAN CONGREGATION OF JEHOVAH'S WITNESSES
   Charter Number:                36134766X
   Registration Date:             3/8/2006
   State Of Origin:
   Domicile Address
                  2821 ROUTE 22
                  PATTERSON, NY 12563
   Mailing Address
                  2821 ROUTE 22
                  PATTERSON, NY 12563
   Principal Business Office
                  2821 ROUTE 22
                  PATTERSON, NY 12563
   Registered Office in Louisiana
                  3523 HARRIS DRIVE
                  BATON ROUGE, LA 70816
   Principal Business Establishment in Louisiana
                  3523 HARRIS DRIVE
                  BATON ROUGE, LA 70816

   Status
   Status:                        Active
   Annual Report Status:          In Good Standing
   Qualified:                     3/8/2006
   Last Report Filed:             2/18/2013
   Type:                          Non-Profit Corporation or Co-op (Non-Louisiana)


   Registered Agent(s)
   Agent:                 STANLEY SINGLETARY
   Address 1:             3523 HARRIS DRIVE
   City, State, Zip:      BATON ROUGE, LA 70816
   Appointment Date:      3/8/2006

   Officer(s)                                                                                                                    Additional Officers: No

   Officer:               CHARLES I. WOODY
   Title:                 President, Director
   Address 1:             2821 ROUTE 22
   City, State, Zip:      PATTERSON, NY 12563


   Officer:               ROBERT CIRANKO
   Title:                 Vice-President, Director
   Address 1:             25 COLUMBIA HEIGHTS
   City, State, Zip:      BROOKLYN, NY 11201


   Officer:               JOEL C. ADAMS



http://coraweb.sos.la.gov/commercialsearch/CommercialSearchDetails_Print.aspx?CharterID=722404_KUA42[5/1/2013 7:25:12 PM]
Commercial - Search
                        Case 2:12-cv-01641-KDE-SS Document 85-3 Filed 05/06/13 Page 2 of 2
   Title:               Vice-President, Director
   Address 1:           2821 ROUTE 22
   City, State, Zip:    PATTERSON, NY 12563


   Officer:             WILLIAM H. NONKES
   Title:               Secretary/Treasurer, Director
   Address 1:           2821 ROUTE 22
   City, State, Zip:    PATTERSON, NY 12563


   Officer:             MERTON V. CAMPBELL
   Title:               Director
   Address 1:           2821 ROUTE 22
   City, State, Zip:    PATTERSON, NY 12563


   Officer:             STANLEY F. WEIGEL
   Title:               Director
   Address 1:           2821 ROUTE 22
   City, State, Zip:    PATTERSON, NY 12563


   Officer:             ANTHONY GRIFFIN
   Title:               Director
   Address 1:           2821 ROUTE 22
   City, State, Zip:    PATTERSON, NY 12563




   Amendments on File
  No Amendments on file
                                                                          Print




http://coraweb.sos.la.gov/commercialsearch/CommercialSearchDetails_Print.aspx?CharterID=722404_KUA42[5/1/2013 7:25:12 PM]
